Case 2:91-cv-00589-CJC Document 677-21 Filed 07/10/20 Page 1 of 21 Page ID #:6758




                            EXHIBIT 50




                                     Exhibit 50
                                       6715
Case 2:91-cv-00589-CJC Document 677-21 Filed 07/10/20 Page 2 of 21 Page ID #:6759
                                                                                               1654-04521
   THE
   McCOLL
   SITE
   GROUP       215 East Orangethorpe Avenue, Suite 304, Fullerton, California 92632 (714) 665-7391




                                                     October 18, 1991
                                                                                       SFUND RECORDS CTR
                                                                                          88103066

    Mr. John Blevins
    U.S. EPA, Region IX
    75 Hawthorne Street, H-6-1
    San Francisco, California 94105
                     Re:       McColl Superfund Site
    Dear John:

             Enclosed is Dr.                         Charles Satterf ield's paper entitled
    "The Reactions Occurring                         In the McColl Superfund Site." As we
    have discussed in recent                         technical meetings, Dr. Satterf ield has
    reviewed the McColl Site                         data and has concluded:
                     •         The original acidic petroleum waste deposited in
                               the sumps has converted over time to a tarry
                               material and an asphaltic cement-like material
                               ("asphaltic cement");
                     •         Three reactions are responsible for converting the
                               original waste into asphaltic cement:
                               (i) acid-catalyzed polymerization and
                               polycondensation of organic material, (ii)
                               acid-catalyzed polymerization and polycondensation
                               of organic material, accelerated by autoxidation,
                               and (iii) acid-catalyzed polymerization and
                               polycondensation of organic material, accelerated
                               by acidified clay and reaction with clay;
                     •         The tarry material is an intermediate product of
                               the reaction mechanisms occurring at the Site and
                               represents waste that has not completely
                               transformed into asphaltic cement; and
                     •         The reactions responsible for converting the
                               original waste into asphaltic cement are not
                               reversible under conditions existing at McColl.




                                                              Exhibit 50
   The McColl Site Group is composed of                         6716
   Shell Oil Company, ARCO, Phillips Petroleum, Texaco and UNOCAL
Case 2:91-cv-00589-CJC Document 677-21 Filed 07/10/20 Page 3 of 21 Page ID #:6760
   THE
   McCOLL
   SITE
   GROUP K 215 East Orangethorpe Avenue, Suite 304, Fullerton, California 92632 (714) 665-7391

  Mr. John Blevins
  October 18, 1991
  Page 2


           We believe this particular work product is a good
  example of our joint technical effort to further understand the
  McColl Site. We request that this work be submitted into the
  administrative record for McColl.
                                                          Very truly yours,
                                                                         S
                                                          Willi&m J. Duchie
  Enclosures
  cc: Mr. David B. Jones
           Ms. Pamela Wieman
           Mr. Steve Linder
           Ms. Caroline Rudolph
           Mr. Steve Gaytan
           Mr. Barry Eaton
           Mr. David Bushey
           Mr. Kenneth Ritter
           Mr. Barry Brown
           Mr. Robert Wilson
           Larry Lawton, Esq.




                                                            Exhibit 50
  The McColl Site Group is composed of                        6717
  Shell Oil Company, ARCO, Phillips Petroleum, Texaco and UNOCAL ®<
Case 2:91-cv-00589-CJC Document 677-21 Filed 07/10/20 Page 4 of 21 Page ID #:6761




                           THE REACTIONS OCCURRING
                        IN THE McCOLL SUPERFUND SITE




                                                        Charles N. Satterfield
                                                              October 11, 1991




                                     Exhibit 50
                                       6718
Case 2:91-cv-00589-CJC Document 677-21 Filed 07/10/20 Page 5 of 21 Page ID #:6762

                                   The Reactions Occurring

                                in the McColl Superfund Site

                                    Charles N. Satterfield

                                       October 11, 1991

  Executive Summary

        The McColl site contains twelve sumps into which acidic petroleum waste was

  deposited between 1942 and 1946. This waste was a by-product from the manufacturing

  of high octane aviation fuel during World War II. Site investigations conducted since

  1980 have found that the waste has converted to a hard asphaltic cement-like material

  ("asphaltic cement") with relatively high ash content. Tar material, generally found

  above the denser asphaltic cement, is also found within the sumps. This tar is an

 intermediate product and represents waste that has not been completely transformed into

  asphaltic cement.

        The reactions that are responsible for changing the waste into the asphaltic

  cement are:

         (1) acid-catalyzed polymerization and polycondensation of organic material;

         (2) the above reactions, accelerated by autoxidation; and

         (3) the above reactions, accelerated by acidified clay, and reaction with clay.

 These reactions, which are continuing to occur, are not reversible under conditions

 existing at the McColl Site.

        Clay, which is contained in the soils surrounding the sumps and other materials

 placed on top of the waste, has played a key role in the reactions and is the likely source

 of the ash found in the asphaltic cement-like material. By acidification from the sulfuric

  acid, the clay became a catalyst for polymerization/condensation reactions and this,

 combined with the clay's high adsorbent capabilities, led to the formation of an asphaltic

                                            Exhibit 50
                                              6719
Case 2:91-cv-00589-CJC Document 677-21 Filed 07/10/20 Page 6 of 21 Page ID #:6763


  cement-like material.

  1. Introduction

         The McColl Site is an inactive waste disposal facility located in the city of

  Fullerton, California. According to McColl Site records, the facility accepted acid

  petroleum waste between 1942 and 1946 (Radian, February 4, 1983), which was

  placed in twelve excavated sumps.

         During the 1950's at least three of the sumps in the Ramparts area were covered

  with drilling mud from various California oil fields. The western sumps were later

  covered with natural fill materials during the construction of the Los Coyotes Country

  Club golf course in the late 1950's.

         Various site investigations have been conducted since 1980 to identify the types

  and quantities of wastes at the McColl Site. Results of these investigations indicate that

  the waste originally placed in the sumps in the 1940's has been transformed into tar and

  an asphaltic cement-like material ("asphaltic cement"), the latter sometimes termed

  "char." The asphaltic cement is more dense than the tar. In general the more dense

  asphaltic cement is found at the bottom portion of the sumps, while the less dense tar is

  found in the upper portions. It appears that pockets of tar also exist within the asphaltic

  cement.

         This paper addresses the possible reactions that have occurred at the McColl Site

  that have resulted in changing the original waste into the present composition.



  2. Origin and Original Composition of Waste

         The waste that was deposited in the McColl sumps is described as a waste product

  from the production of high octane aviation fuel during World War II by alkylation of



                                            Exhibit 50
                                              6720
Case 2:91-cv-00589-CJC Document 677-21 Filed 07/10/20 Page 7 of 21 Page ID #:6764



  isoparaffins catalyzed by sulfuric acid. In the alkylation reaction, isobutane is mixed with

  C3 - C5 olefins at ambient pressure and a temperature in the range of 45-70 ° F, in the

  presence of sulfuric acid. The product consists essentially of C^ - Q isoparaffins and its

  octane number is quite sensitive to the concentration of H2SO4. The sulfuric acid

  becomes diluted with water and organics dissolved in it. Fresh acid is typically charged

  at 98-99.5 wt% H2SO4 and is discarded typically at about 90 wt% (Putney, 1959).

         The organic material in the acid can come from several sources. Mercaptans and

  hydrogen sulfide are present in nearly all untreated light olefin feedstocks (Putney, 1959),

  and these would dissolve into the acid. Water may be present in small amounts in the

  feedstocks, either absorbed or entrained, which dilutes the acid. Olefins can polymerize

  with each other, a reaction that is minimized by using a great excess of isobutane to

  olefins in the alkylation reactor, yet some can still occur, the resulting polymeric material

  going into the acid. Abraham (Vol. 1, pp. 78-79) states that concentrated sulfuric acid

  removes unsaturated and aromatic hydrocarbons, asphaltic bodies, and "saponifiable

  bases" by a complex combination of formation of sulfo derivatives, simple solutions and

  polymerization.

         In summary, the organic constituents in the original waste consisted of undefined

  material of varying molecular weight and composition, formed by polymerization-

  condensation side reactions of the ideal feedstocks, together with other complex

  reactions from impurities, plus various dissolved species. The original acid concentration

  in the waste was probably about 90% H2SO4. More details are given, for example, in the

  review by Putney (1959). It is important to note that essentially no "ash" or non-

  combustible mineral matter would have been present in the original waste.




                                             Exhibit 50
                                               6721
Case 2:91-cv-00589-CJC Document 677-21 Filed 07/10/20 Page 8 of 21 Page ID #:6765



 3^ Present Composition of Waste Material

        From the data available to me, there are only two sets of chemical analyses that

  seem to distinguish between tar and "char" in the sumps.

        In 1983 Radian, in a "McColl Phase II study," reported on samples obtained in an

 earlier Phase I study in 1982 from cores at Ramparts R-l, R-2, and R-5, and Los

 Coyotes L-l and L-2. Two samples from each of the five cores were analyzed. Eight of

 the ten fell into a class termed W-4 and were described as (Radian, 23 Feb., p. 1-1) "a

 hard, black, asphaltic waste with a slight rubbery texture." The analysis showed an

 average ash content of 48% by weight, sulfur of 8.1%, a pH of 1.5 and a bulk density of

  1.1 g/cm3 (disturbed material). The Radian report did not provide data on the ash

 content of individual samples.

        The EPA Pre-Publication Report (September, 1990) gives information on samples

 of "raw mud, raw tar, raw char and treated tar" from the L-4 sump. Table 1 summarizes

 relevant data from the report. The proximate and ultimate analyses were performed on

 four sets of samples. As stated on page 4-94 of the EPA report, "In all of these analyses,

 some volatile matter was driven off of the sample when it was heated to 105 ° C to

 determine the moisture fraction. Also, the moisture content of these samples may be

 higher than undisturbed waste due to the foam vapor suppressants sprayed on the waste,

 which contained large amounts of water."

        As shown in Table 1, the EPA report notes that "the raw tar sample contained a

 high percentage of combustible material, . . . an ash content of less than 2 percent, and a

 high sulfur content of 10.6 percent" and "raw char has a fairly high ash level of about 55




                                            Exhibit 50
                                              6722
Case 2:91-cv-00589-CJC Document 677-21 Filed 07/10/20 Page 9 of 21 Page ID #:6766



 percent, a sulfur level of 4.5 percent."



              TABLE 1. TRIAL EXCAVATION WASTE SAMPLE ANALYSIS

                   PROXIMATE AND ULTIMATE (AS-RECEIVED BASIS)

                           Ref; EPA, September 1990 (Table 4-16)

  Parameter                   Raw tar                Raw char

  Proximate
  Moisture, wt %a             11.6                   21.2
  Volatiles                   69.9                   20.1
  Fixed carbon, wt %b         16.9                    4.0
  Ash, wt %                    1.6                   54.7

  Ultimate
  Carbon, wt %                51.1                   8.6
  Hydrogen, wt %               5.4                   3.7

  Sulfur, wt %                10.6                   4.5
  Nitrogen, wt %               0.1                   0.1
  Oxygen, wt %d               31.1                   28.3
                              (20.8)c                (9.5)c

 a
     Moisture includes some volatiles lost at 105 ° C.
 b
     Fixed carbon determined by difference in proximate analysis.
 c
     Excludes hydrogen and oxygen contained in water.
 d
     Oxygen determined by difference in ultimate analysis.

         The EPA report also provides proximate and ultimate analyses performed on core

  samples collected from various depths in sump L-4. Results from the proximate analyses

 further indicate that higher ash contents are found at greater depths within the sumps.

 For a sample believed to be tar, the ash content was 14.7%. In comparison, two deeper

  samples believed to be the asphaltic cement had ash contents of 49.4% and 53.8%.

 Results from the ultimate analyses indicated that total sulfur content ranged from 10.4 to




                                            Exhibit 50
                                              6723
Case 2:91-cv-00589-CJC Document 677-21 Filed 07/10/20 Page 10 of 21 Page ID #:6767



  14.5% for the asphaltic cement and tarry material, respectively. These analyses give the

  total sulfur present but not the form in which the sulfur is combined.



  4. Presence of Clay at the McColl Site

         Waste from an alkylation unit in a refinery would be expected to contain

  negligible amounts of ash, which is mineral matter. The one analysis in Table 1 appears

  to be the best available at present for "raw tar." Particularly noteworthy, however, is that

  all eight samples of asphaltic cement from the Radian analyses, the raw "char" from the

  more recent EPA study, and the lower bore samples contained large amounts of ash,

  averaging in the neighborhood of 50%. This suggests the possibility that substantial

  amounts of clay were introduced into the waste sumps from the surrounding soil as well

  as from drilling muds and other sources. Most of the asphaltic cement was probably

  formed by reactions between the waste and the clay material.

         The boring logs prepared by CH2M Hill in 1987 show that material containing

  clay was present in all borings of soil near the sumps (LO-SO-01 through LO-SO-09 and

  RA-SO-01 through RA-SO-07). The soil was described in many cases as clayey silt, silty

  clay, clayey sand or sandy clay. Radian (Feb. 15, 1983), p. 3-23, gives a diagram of soil

  textural classes from a book by Hillel, "Soil and Water Physical Principles and Processes,"

  that shows that these definitions mean that the clay content is at least 30%. According

  to the boring logs, almost without exception, clay was present in the top 15-20 feet of the

  soil and in many cases also much lower.

         Drilling mud consists essentially of bentonite clay which mostly consists of a type




                                            Exhibit 50
                                              6724
Case 2:91-cv-00589-CJC Document 677-21 Filed 07/10/20 Page 11 of 21 Page ID #:6768



  of clay having a chemical structure termed "montmorillonite." Radian (15 Feb. 1983), p.

  2-1, states that in the early to mid-1950's, drilling mud was used to cover some of the

  sumps in the Ramparts section while in the late 1950's the western sumps were covered

  during the construction of the Los Coyotes golf course. (This cover is described, p. 3-15,

  as being clayey topsoil). The drilling logs of CH2M Hill give information on nine

  boreholes drilled in the Ramparts sumps. These show that drilling muds were disposed

  of in the R-l, R-2 and R-4 sumps. The CH2M Hill drilling logs also indicate the

  presence of clay material above the waste within sumps. The Ecology and Environment

  report (1991) on the subsurface investigation at sump L-l indicated significant clay cap

  material, up to as much as 10 feet in thickness.

         Radian (17 Mar., p. 3-15) further quotes a soil survey by Wachtell in 1978. The

  natural soils in the Ramparts area are described as being primarily clays and clayey

  loams. From the soil survey, the Los Coyotes area is reported as consisting mostly of a

  sandy loam with clays possibly occurring along the western edge.



  5. Reactions

        To obtain an understanding of the probable reactions and changes in composition

  of the McColl wastes over the last 45 to 50 years requires piecing together data and

  information from a variety of sources. Several observations and facts are pertinent:

         Source of SO2: It is evident that sulfuric acid is slowly reduced to SO2 by organic

  material in the alkylation waste. Kalichevsky and Stagner (1942), p. 76, give data on the

  increase in SO2 over a 21-day period in a waste from treatment of cracked gasoline. A




                                            Exhibit 50
                                              6725
Case 2:91-cv-00589-CJC Document 677-21 Filed 07/10/20 Page 12 of 21 Page ID #:6769



  fresh acid waste from refining of heavy oils analyzed 1.37% SO2 and this amount of SO2

  increased as the waste aged (Kalichevsky and Stagner, p. 122). The H2SO4 in the waste

  at McColl may still be slowly reduced to SO2 by organic material present. However, SO2

  has a considerable solubility in H2SO4. The SO2 that escapes to the atmosphere when

  McColl waste is first exposed probably represents release of entrapped gas and dissolved

  S02.

         Polymerization and Condensation: The presence of sulfuric acid will catalyze the

  polymerization and condensation of unsaturated compounds to form higher molecular

  weight material. These reactions will occur in the absence of air but are accelerated by

  oxygen (see "Autoxidation" below). The most reactive compounds disappear first so the

  process as a whole will steadily decrease in rate with time. Some compounds such as

  saturated hydrocarbons will never polymerize in the absence of oxygen but may become

  autoxidized or adsorbed onto clay. This explains why tar, which is an intermediate

  product between the waste and asphaltic cement, still exists within the sumps.

         Autoxidation: It has been observed that tar appearing on the surface as tar seeps

  often hardens rapidly. This is a type of polymerization/condensation which is set off by

  oxygen and is termed autoxidation. Autoxidation is defined as a spontaneous, self-

  catalysed oxidation from air and occurs with a large variety of substances. An example

  of autoxidative polymerization occurring at ambient conditions is the commonly-

  experienced use of an oil-base paint. Upon exposure to air, the paint thickens and

  hardens. There are many other examples. The viscosity of a vegetable oil such as

  linseed oil is increased by blowing with air at moderately elevated temperature.


                                               8


                                           Exhibit 50
                                             6726
Case 2:91-cv-00589-CJC Document 677-21 Filed 07/10/20 Page 13 of 21 Page ID #:6770



  Similarly the viscosity of asphalt is increased by air blowing (Earth, 1962). Many years

  ago Kalichevsky and Kobe (p. 107) reported that lubricating oil acid wastes "may be

  allowed to solidify on standing."

         A principal purpose of sulfuric acid treatment of petroleum products is to remove

  components especially susceptible to autoxidative polymerization, since this reaction

  leads to the formation of insoluble gums in gasoline and distillate fuels and sludges in

  lubricating oils. The reactions are highly complex but may be divided into two types,

  dehydropolymerization and polycondensation. The two types may be symbolized in

  general as:

         RH + R'H .^2-^ R'R' + H2O etc.                           (1)
         R(0)H + R'(0)H --> R-R' or R(O)R' + H2O etc. (2)

  Here RH and R'H represent hydrocarbons from which, in an overall sense, hydrogen is

  removed by oxygen to form H2O, accompanied by combination of the two hydrocarbons

  to form a larger molecule, R'R'. The process then repeats. R(O)H and R'(O)H

  represent insertion of oxygen from the air as the first step, followed by elimination of

  H2O and condensation. Again, the process repeats to form higher molecular weight

  products.

         Unsaturated bonds, e.g., those in olefinic compounds and aromatics, are

  particularly susceptible to autoxidation but the degree of reactivity varies greatly with

  structure. Some sulfur and nitrogen compounds even in small amounts greatly accelerate

  the oxidation rate (Lundberg, Vol. II, p. 716), while other materials act as inhibitors.

  Thus the overall oxidative polymerization rate can vary greatly with slight changes in




                                             Exhibit 50
                                               6727
Case 2:91-cv-00589-CJC Document 677-21 Filed 07/10/20 Page 14 of 21 Page ID #:6771



  composition. This explains why one tar seep at McColl may harden rapidly while

  another may remain fairly soft.

         The most probable mechanism in dehydropolymerization (reaction 1) involves

  initial reaction with oxygen to form a hydroperoxide which in turn decomposes to initiate

  a polymerization reaction that proceeds by a free-radical (or ionic) chain mechanism.

         In polycondensation (reaction 2) the initial reaction is that of oxygen with the

  organic to form an acid, alcohol or similar oxygenated structure. These then combine

  with the release of water. A simple example in commerce is the manufacture of

  polyester polymers by condensation of a dicarboxylic acid and a dihydroxy alcohol. More

  information on oxidative polymerizations is given in books by Scott (1965) and a two-

  volume compilation edited by Lundberg (1962).

         Autoxidation would accelerate the conversion of the original waste to a thicker

  tarry material, but this would depend on the extent to which air could have access to the

  waste. One can visualize two extremes: (1) Waste was disposed on a rotating basis

  amongst several sumps, forming a relatively thin layer and with considerable intervals

  between disposals. This would maximize autoxidation. (2) One sump at a time was

  filled, reducing the opportunity for autoxidation.

         Sludge Asphalts: Some further clues come from scattered information on so-

  called "sludge asphalts." For many years (e.g., 1910-1950) these were produced from

  sulfuric acid sludge resulting from treatment of a variety of petroleum products in

  refineries. A great variety of methods were used to treat the sludge with the objective of

  producing asphalt of desired physical properties. Samples of six sludge asphalts were


                                               10



                                            Exhibit 50
                                              6728
Case 2:91-cv-00589-CJC Document 677-21 Filed 07/10/20 Page 15 of 21 Page ID #:6772



  examined by Abraham (Abraham, p. 192). Most of his characterizations are of minor

  interest here, but he reports that his sludge asphalts had a high sulfur content, from 5.4

  to 8.7 wt%. He also comments that sludge asphalts significantly differ from other

  asphalts in having a high percentage of oxygen, but gives no data. He also reported that

  air blowing of sludge asphalts hardens the sludge.



  6. What Happens When Clays Contact An Acidic Hydrocarbon Waste?

         First and foremost, clayey material at McColl, when contacted with acid waste,

  was transformed into a solid acid catalyst. This catalyzed polymerization/condensation

  and simultaneously the products were adsorbed onto the acidic clay, forming an asphaltic

  cement-like material. The following describes how the solid acids are formed and then

  how the clayey material could have contacted and converted the waste.

         Clays after acid treatment have been used for decolorization of mineral oils since

  the 1920's and the first petroleum cracking catalysts (early 1930's) were prepared by first

  treating bentonite clay with sulfuric acid (Ryland et al., p. 14). The reactions of sulfuric

  acid with a clay are complex, but they involve replacement of exchangeable cations with

  hydrogen to form so-called acid-clays, together with various degrees of dissolution of the

  clays and precipitation of new phases. These changes depend on acid concentration,

  temperature and time of contact.

         Clays are hydrated aluminosilicates that exist in a variety of types of structures.

  Two of the types commonly found are:

         Kaolin (ideal) Al4Si4O10(OH)8- nH2O


                                                11


                                             Exhibit 50
                                               6729
Case 2:91-cv-00589-CJC Document 677-21 Filed 07/10/20 Page 16 of 21 Page ID #:6773



         Montmorillonite (ideal) (Al315Mg085)Si80O20(OH)4X085< nH2O

                where X = monovalent cation

         Drilling muds consist essentially of bentonite, a montmorillonite type of clay,

  which swells in water to form a thixotropic gel. The above two types are the "ideal"

  compositions but in nature impurities may be present.

         As an example of the effects of acid treatment, Mills et al. (1950) give detailed

  information on the degree of removal of various cations from a variety of bentonite clays

  using 5-20% sulfuric acid at 93 ° C for times of up to 16 hours, followed by extensive

  washing. Impurities (Ca, Mg, Fe) in the ideal montmorillonite structure are typically

  present in the order of 1-4 wt.% each. For a representative case, the percent removal of

  various ions as reported by Mills et al. was Na, 90%; Ca, 96%; Mg, 60%;

  Fe, 63%; Al, 47%. In the case where a clay is mixed with McColl acidic waste, clay

  would be converted into the acidic form by replacement of cations, together with varying

  degrees of solution of alumina, followed by complex precipitation of hydroxides as pH

  rose with gradual disappearance of sulfuric acid.

         Benesi (1956) prepared samples of hydrogen-exchanged montmorillonite and

  kaolinite by treatment with an ion-exchange resin in the acid form, so as to avoid the

  dissolution-precipitation of the clayey material. He reported that the clays had acid

  strengths, in terms of the Hammett acidity function, Ho, of about -5.6 to -8.2. These

  were determined by colorimetric indicator methods (see, e.g., Satterfield, 1991) and this

  acid strength is equivalent to a sulfuric acid concentration of 71 to 90% (Benesi, 1956).

  The acidified clays can thus catalyse the same polymerization/condensation (and other


                                               12


                                            Exhibit 50
                                              6730
Case 2:91-cv-00589-CJC Document 677-21 Filed 07/10/20 Page 17 of 21 Page ID #:6774



  reactions) as concentrated sulfuric acid. In addition, these acidified clays are also good

  adsorbents. The combination leads to the formation of an asphaltic cement-like

  material.

         Contact of acid waste with clayey material could have occurred at McColl in at

  least three different ways.

         A. The sides of the sumps were sloped. As waste was deposited down the slopes

  there would have been opportunity for the concentrated acid in the waste to dissolve

  and/or suspend clayey material. Upon subsequent drop in sulfuric acid concentration by

  rainwater, reduction to SO2, etc., converted clayey-type material would precipitate and/or

  coagulate with polymeric carbonaceous material to form an asphaltic cement.

         B. In sumps covered with drilling mud or a clay cap, contact of waste and the

  clayey material could have caused the same processes as in (A) above. The EPA 1990

  report in Appendix F (p. F-2) gives the density of raw char as 74 lb/ft3 and raw tar as 33

  lb/ft3, as measured in the field by weighing a 5-gallon bucket of waste material. The

  value for tar seems low, but in any event the density of asphaltic cement would be

  expected to be greater than that of tar, so it would tend to settle, providing a mechanism

  for gross mixing when drilling mud was dumped on top of tar in the sumps. The

  difference in density between the two materials would also explain why the less dense tar

  material would be found above the much denser asphaltic cement. Small pockets of tar

  may also exist within the asphaltic cement. These could be due to non-reactive tar

  trapped within the asphaltic cement matrix, or tar which is only slowly converting to

  asphaltic cement because of lack of oxygen.


                                                13.


                                            Exhibit 50
                                              6731
Case 2:91-cv-00589-CJC Document 677-21 Filed 07/10/20 Page 18 of 21 Page ID #:6775



         C_. Other sumps are presently covered with several feet of soil. This soil

  generally appears to contain clayey material that would react as in A and B above.

         As described above, it becomes evident that clays play a key role in conversion of

  tar to asphaltic cement. In summary:

         A. Clays are converted to the acidic form by sulfuric acid.

         B. Acidified clays dissolve/disperse.

         £. The converted clays precipitate and/or coagulate as acid concentration drops.

  Simultaneously, the clays

         • catalyze polymerization reactions, and

         • adsorb polymeric materials and gradually become inactive as they

            become coated.

  The result is the formation of an asphaltic cement.



  8. Can Asphaltic Cement Be Converted into Tar?

         Acid catalysts such as sulfuric acid and acidified clay can catalyze a wide variety

  of reactions of hydrocarbons and other organics. (Satterfield, 1991, Chapter 7; Tanabe,

  1970; and other sources): Polymerization and condensation reactions readily occur and

  the polymeric products are adsorbed onto the clay. As these products accumulate, they

  surround the clay particles and the clay becomes inactive.

         The reactions described here all occur spontaneously at ambient conditions and

  are mildly exothermic (i.e., give off heat). Likewise the adsorption of waste onto clay is

  exothermic. Thus the reverse of these reactions cannot occur spontaneously under the


                                                 14



                                             Exhibit 50
                                               6732
Case 2:91-cv-00589-CJC Document 677-21 Filed 07/10/20 Page 19 of 21 Page ID #:6776



  same conditions that drove them forward. To convert an asphaltic cement into a tar

  would require a high temperature pyrolysis (which is endothermic, i.e., soaks up heat) or

  some form of hydrogenation in massive processing equipment. None of these conditions

  exist at the McColl site.

         There is no theory or evidence that asphaltic cement in the McColl sumps will be

  converted back into tar under the conditions there. Everyday observations and

  knowledge of reactions occurring with carbonaceous materials indeed all indicate that

  conversions are in the opposite direction. For example, in mining coal one does not

  observe tarry material accompanying it, and an asphalt road gradually becomes harder

  rather than softer with time.




                                            Exhibit 50
                                              6733
Case 2:91-cv-00589-CJC Document 677-21 Filed 07/10/20 Page 20 of 21 Page ID #:6777



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Case 2:91-cv-00589-CJC Document 677-21 Filed 07/10/20 Page 21 of 21 Page ID #:6778



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